IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE pox Ape «

 

AT NASHVILLE wou 29 PM 2: BL
ALETA R. PEER, )
)
Plaintiff, )
)
Vv. ) No. 8 O05 108 5
) Jury Demand
INTEGRA SOFTWARE SYSTEMS, __ )
)
Defendant. ) JUDGE TRAUGER

COMPLAINT

Come the Plaintiff, through counsel, and would show the court as follows:
1. Plaintiff is a citizen and resident of this State and resides within the confines of
the jurisdiction of this court. She is over the age of forty.
2. Defendant, Integra Software Systems, is a Tennessee Corporation. The registered
agent for service of process is Integra Software Systems, LLC, 117 Seabord Lane, Suite
F-290, Franklin, Tennessee 377067.
3. Jurisdiction is pursuant to 28 U.S.C. 1331, 42 U.S.C. 2000e et seq, 29 US.C. 621
et seq and the Tennessee Human Rights Act, I.C.A. 4-21-101 et seq.
4, Venue is proper in that the acts complained of occurred within the confines of the
jurisdiction of this court.
5. Plaintiff was employed by the Defendant until she was wrongfully terminated on
June 22, 2005. She was told that the reason was poor job performance.
6. After Plaintiff was terminated she was replaced by two men who were in their

twenties and were not as qualified to perform the duties of her position.

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7. Immediately upon Plaintiff's termination, she was offered a contract position by
the Defendant doing, basically, the same work. However, when the Defendant found out
that Plaintiff had filed a charge of discrimination with the Tennessee Human Rights
Commission, they told her she would not be given the contract position.
8 Plaintiff would submit that the Defendant’s actions amount to discrimination on
the basis of age and gender and retaliation for filing a charge of discrimination.
9, Plaintiff has received a Notice of Right to Sue for all claims.
10. Asaresult of Defendant’s actions, Plaintiff has suffered both economic and non-
economic damages.

WHEREFORE, premises considered, Plaintiff prays as follows:
1. That the Defendant be served with a copy of the Complaint and Summons and be
required to answer within the time prescribed by law.
2. That the Plaintiff be awarded damages in the amount of $300,000.00
compensatory and a like amount for punitive damages.
3. That the Plaintiff be awarded reasonable attorney’s fees and that the cost of this

cause be assessed against the Defendant.

4. That a jury be empanelled to hear this case.
5. For such other relief as the Court deems just.
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Respectfully submitted:

sel

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